Case 9:22-mj-08332-BER Document 76 Entered on FLSD Docket 08/19/2022 Page 1 of 5
            USCA11 Case: 22-12708 Date Filed: 08/16/2022 Page: 1 of 2


                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303


  David J. Smith                                                                     For rules and forms visit
  Clerk of Court                                                                     www.ca11.uscourts.gov
                                             August 18, 2022

  ***CORRECTED LETTER TO REQUEST TRANSCRIPT INFORMATION FORM***

  Paul Dorsey
  110 WESTMINSTER DR                                                                       AP
  WEST HARTFORD, CT 06107

  Appeal Number: 22-12708-F                                                     Aug 18, 2022
  Case Style: USA v. Paul Dorsey
  District Court Docket No: 9:22-mj-08332-BER-1
                                                                                               MIAMI


  Please use the appeal number for all filings in this court.

  Electronic Filing
  All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
  unless exempted for good cause. Although not required, non-incarcerated pro se parties are
  permitted to use the ECF system by registering for an account at www.pacer.gov. Information
  and training materials related to electronic filing are available on the Court's website.

  Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
  Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
  11th Cir. R. 26.1-1. In addition:

        •    Appellants/Petitioners must file a CIP within 14 days after this letter's date.
        •    Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after
             this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
        •    Only parties represented by counsel must complete the web-based CIP. Counsel must
             complete the web-based CIP, through the Web-Based CIP link on the Court's website,
             on the same day the CIP is first filed.

  The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the
  case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
  sanctions on counsel, the party, or both. See 11th Cir. R. 26.1-5(c).

  Attorney Admissions
  Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
  this court or for this particular proceeding, See 11th Cir. R. 46-1; 46-3; 46-4. In addition, all
  attorneys (except court-appointed attorneys) who wish to participate in this appeal must file an
Case 9:22-mj-08332-BER Document 76 Entered on FLSD Docket 08/19/2022 Page 2 of 5
            USCA11 Case: 22-12708 Date Filed: 08/16/2022 Page: 2 of 2



  appearance form within fourteen (14) days after this letter's date. The Application for
  Admission to the Bar and Appearance of Counsel Form are available on the Court's website.
  The clerk generally may not process filings from an attorney until that attorney files an
  appearance form. See 11th Cir. R. 46-6(b).

  Defaults
  Pursuant to 11th Cir. R. 42-1(b), this appeal will be dismissed after 14 days and without
  further notice unless the following default(s) have been corrected:

  Transcript Information Form
  Pursuant to FRAP 10(b), the appellant must, within 14 days, file a Transcript Information Form,
  which is available on the Court's website. See FRAP 10(b)(1); 11th Cir. R. 10-1. Unless a
  transcript is ordered, the appellant's brief is due 40 days after August 16, 2022, except as
  otherwise provided in 11th Cir. R. 31-1. See 11th Cir. R. 12-1 and 31-1.

  Obligation to Notify Court of Change of Addresses
  Each pro se party and attorney has a continuing obligation to notify this court of any changes to
  the party's or attorney's addresses during the pendency of the case in which the party or attorney
  is participating. See 11th Cir. R. 25-7.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Dionne S. Young, F
  Phone #: (404) 335-6224
Case 9:22-mj-08332-BER Document 76 Entered on FLSD Docket 08/19/2022 Page 3 of 5
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                                              August 18, 2022

  Paul Dorsey
  110 WESTMINSTER DR
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  Appeal Number: 22-12708-F
  Case Style: USA v. Paul Dorsey
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  permitted to use the ECF system by registering for an account at www.pacer.gov. Information
  and training materials related to electronic filing are available on the Court's website.

  Briefing
  Pursuant to 11th Cir. R. 31-1, the appellant's brief is due on or before September 26, 2022. The
  appendix is due 7 days after the appellant's brief is filed. An incarcerated pro se party is not
  required to file an appendix.

  The appellee's brief is due within 30 days after the service of the last appellant's brief. The
  appellant's reply brief, if any, is due within 21 days after the service of the last appellee's brief.
  This is the only notice you will receive regarding the due date for briefs and appendices.

  Please see FRAP 32(a) and the corresponding circuit rules for information on the form of briefs
  and FRAP 32(b) and 11th Cir. Rules 30-1 and 30-2 for information on the form of appendices.

  (In cross-appeals pursuant to Fed.R.App.P. 28.1(b), the party who first files a notice of appeal is
  the appellant unless the parties otherwise agree.)

  Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
  Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
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            USCA11 Case: 22-12708 Date Filed: 08/16/2022 Page: 2 of 2



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  Admission to the Bar and Appearance of Counsel Form are available on the Court's website.
  The clerk generally may not process filings from an attorney until that attorney files an
  appearance form. See 11th Cir. R. 46-6(b).

  Attorneys must file briefs electronically using the ECF system. Use of ECF does not modify the
  requirements of the circuit rules that counsel must also provide four (4) paper copies of a brief
  to the court, nor does it modify the requirements of the circuit rules for the filing of appendices
  in a particular case.

  Obligation to Notify Court of Change of Addresses
  Each pro se party and attorney has a continuing obligation to notify this court of any changes to
  the party's or attorney's addresses during the pendency of the case in which the party or attorney
  is participating. See 11th Cir. R. 25-7.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Tonya Richardson, BB
  Phone #: (404) 335-6174
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                             UM TED STATES IHSTW CT COURT
                             SOUTHERN DISTRICT OF #LORIDA
                                W EST PALM BEACH DIVISION
                           CRIMINALCASENo9:22-M ,1-8332- F
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                          INTER STED PARTY PAUL M zDORSEV'S
                                  Ntm /k OFAPPEW
       Nuticeishexebygtventha!PaulM .Boçseygpro-se,tixllntef-
                                                            etted Partyin theabove-styled
    àctlon,appeal:totheUltited StatesCourtofAppealsfnrtheElevèntbCircuitthefollowingovder
    enteredby the DistrictCotlrt:

    @ Paperl:ssOrderdate;August15,2022(DE 58),whichstatesin itsentièety:
           PAPERLESS ORDER denying 52 ,53 ,and 54 pro se m otiöns to intetvenç,
           urisval dotlmwnts, and receive ncgice of eleçtronic tllings. The interests
           asserted by th: movantsal'eadequately represented by the mèdiarintervenors.
           Seç In re.Vor/zo?t Organiè Af//cPlus D#.  /1 Onttga-? M k/g.dr,sales Prac.
           Litig.,Xp.12-M13-02324,2014 WL 12496734,as*2 (S.D.Fla.July 1ù,2014)
           (citing Sbd.R.Civ.P.24) (collecting caseg).Signed by MAgistrate Judge
           BruckE.Relnhartpn 2/15/2022.(hk02)(Entefed:08/15/2022)

    Plegsepoteihat::526istheohly docketnllmberthatappliesto PatllM ,Dorsey.

    Dated: Augustlû,2072               Reqpectfully gubm itttd,

                                          /,4 mb.
                                       /s/PaulM .Dorsev
                                       PaulM ;Doràey,p/ktl-l'e
                                       110 W egtm insterD rive
                                       W estHartford,CT 06107
                                       (860)521-0081
                                       p.dorsey@comcast.net
